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5

6                        IN THE UNITED STATES DISTRICT COURT

7                     FOR THE EASTERN DISTRICT OF CALIFORNIA

8
                                         ) Case No.: CR.S. 10-425 MCE
9    United States of America,           )
                                         ) STIPULATION AND ORDER TO CONTINUE
10              Plaintiff,               ) STATUS CONFERENCE
                                         )
11        vs.                            ) Court: Hon. Morrison C. England
                                         ) Time:   10:00 a.m.
12                                       ) Date:   December 8, 2011
     Julio Caeser-Xep,                   )
13                                       )
                Defendant
14

15
          Plaintiff, United States of America, by and through its counsel,
16
     Assistant United States Attorney Paul A. Hemesath; defendant, Julio
17
     Cesar Xep, by and through his counsel, Shari Rusk; agree and stipulate
18
     to vacate the date set for status conference, December 1, 2010 at
19

20
     10:00 a.m., in the above-captioned matter, and to continue the matter

21   one week for a change of plea, to December 8, 2011.

22         The parties have reached a negotiated settlement of this matter

23   and request that it be calendared for a change of plea on December 8,

24   2011 and that date is available with the Court.

25        The parties further agree and stipulate that the time period from

26   the filing of this stipulation until December 8, 2011 should be

27   excluded in computing time for commencement of trial under the Speedy

28   Trial Act, based upon the interest of justice under 18 U.S.C. §




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1    3161(h)(7)(B)(iv), and Local Code T4, to allow continuity of counsel
2    and to allow reasonable time necessary for effective defense
3    preparation.                    It is further agreed and stipulated that the ends of
4    justice served in granting the request outweigh the best interests of
5
     the public and the defendant in a speedy trial.                       Accordingly, the
6
     parties respectfully request the Court adopt this proposed
7
     stipulation.
8
     IT IS SO STIPULATED
9
     Dated: November 29, 2011
10                                                BENJAMIN WAGNER United States Attorney
11
                                                        By:     /s/ Paul A. Hemesath
12
                                                                PAUL A. HEMESATH
                                                                Assistant United States Attorney
13

14                                                /s/ Shari Rusk
                                                  SHARI RUSK
15                                                 Attorney for Defendant
                                                  JULIO CESAR XEP
16

17

18

19                                                      ORDER

20                          IT IS SO ORDERED.

21

22
     Dated:                    December 6, 2011
23

24                                                   __________________________________
                                                     MORRISON C. ENGLAND, JR
25
     DEAC_Signatur e-END:
                                                     UNITED STATES DISTRICT JUDGE
26

27                b0d3
28




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